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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

UNITED STATES OF AMERICA,
ex rel., JASON IPO and DR.
MICHAEL FREY, Relators

            Plaintiffs,

v.                                               Case No.: 2:19-cv-156-FtM-38MRM

CHARLOTTE PAIN
MANAGEMENT CENTER,
INC., NANCY HARRIS and
SMART PHARMACY, INC.,

              Defendants.
                                          /

                                        ORDER1

       Before the Court is Relator Michael Frey’s Notice of Voluntary Dismissal

Without Prejudice Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) as to Relator Frey

(Doc. 14). This case can only be dismissed if the Court and Attorney General

give written consent along with reasons, so the Court solicited the

Government’s position. (Doc. 15). In writing, the Government consented to

dismissal because it is “commensurate with the public interest and . . . the

matter does not warrant the continued expenditure of government resources.”



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(Doc. 16 at 1). Neither Frey nor the Government wish to proceed with this case

as to Frey, so the Court dismisses without prejudice as to Frey and the

Government.

      Accordingly, it is now

      ORDERED:

      This case is DISMISSED without prejudice as to Relator Michael

Frey and the United States of America.

      DONE and ORDERED in Fort Myers, Florida on November 6, 2020.




Copies: All Parties of Record




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